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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)

PROUDFOOT CONSULTING CO.,

                                                 Amount of Judgment $352,840.29
                       Plaintiff,

                      v.                         Civil No. 09-mc-00300

DERRICK GORDON,

                       Defendant.


                  REQUEST FOR WRIT OF GARNISHMENT OF WAGES

        Plaintiff requests a WRIT OF GARNISHMENT OF WAGES pursuant to the Final

Judgment of Attorneys’ Fees in the amount of $352,840.29 (the “Judgment”) in Proudfoot

Consulting Company v. Derrick Gordon, Case. No. 06-80959-civ-Marra/Johnson, which

was originally entered by the United States District Court of the Southern District of Florida

on September 15, 2008, and was registered in this court on September 14, 2009.1 (See ECF

No. 1). Pursuant to 28 U.S.C. § 1963, this court may enforce a judgment entered in another

district court.




1
  After the judgment was registered in this Court, Judge Linnea Johnson of the Southern
District of Florida entered an Order vacating the Judgment on September 22, 2009 for the
purpose of staying Plaintiff’s collection activities until the court could rule on
Defendant’s Rule 60(b)(5) Motion for Relief from Attorneys’ Fee Judgment. (See ECF
No. 3). After that motion was fully briefed, and the parties’ respective argument were
considered by the court, Judge Johnson issued an Omnibus Order reinstating the
Judgment and denying Defendant’s Rule 60(b)(5) Motion on February 25, 2011. (See
ECF No. 5). That Omnibus Order has been appealed by Gordon, but Gordon has not
posted a supersedeas bond or taken any other action to stay collection proceedings during
the pendency of that appeal. The automatic stay of Rule 62(a) has expired.


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JUDGMENT AMOUNT:                $352,840.29
                                ($335,080.55 – ORIGINAL JUDGMENT)
                                ($17,759.74 – POST-JUDGMENT INTEREST)2

JUDGMENT DEBTOR:                Derrick Gordon
                                1763 Macy Lane
                                Lawrenceville, GA 30083

JUDGMENT GARNISHEE:             The Highland Consulting Group, Inc.
                                24629 Beverly Road
                                St. Michaels, MD 21663


        Plaintiff requests, pursuant to Fed. R. Civ. P. 69(a) and Md. Rule 3-646(b) that

this court please issue a writ for the garnishment of wages of the judgment debtor.



Date: April 4, 2011                              Respectfully submitted,



                                                    /s/
                                                 Laura E. Sierra (No. 17607)
                                                 ALSTON & BIRD LLP
                                                 The Atlantic Building
                                                 950 F Street, NW
                                                 Washington, DC 20004-1404
                                                 Telephone: 202-756-3300
                                                 Fax: 202-756-3333

                                                 Counsel for Plaintiff




2
  Pursuant to 28 U.S.C. § 1961, post-judgment interest was calculated from September
15, 2008, the date of entry of the Judgment, through April 1, 2011 at the rate of 2.05%,
compounded annually.

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                     IN THE UNITED STATES DISTRICT COURT
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PROUDFOOT CONSULTING CO.,

                                            Amount of Judgment $352,840.29
                       Plaintiff,

                      v.                    Civil No. 09-mc-00300

DERRICK GORDON,

                       Defendant.


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 4th day of April, 2011, a copy of the foregoing

REQUEST FOR WRIT OF GARNISHMENT OF WAGES was served in accordance

with the Court’s CM/ECF Guidelines.


                                                 /s/
                                              Laura E. Sierra

                                              Counsel for Plaintiff




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